Case: 1:09-cr-00383 Document #: 1035 Filed: 10/21/24 Page 1 of 1 PageID #:11874

                    UNITED STATES DISTRICT COURT
       FOR THE Northern District of Illinois − CM/ECF NextGen 1.8 (rev. 1.8.1)
                                 Eastern Division

UNITED STATES OF AMERICA
                                       Plaintiff,
v.                                                   Case No.: 1:09−cr−00383
                                                     Honorable Sharon Johnson Coleman
, et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 21, 2024:


        MINUTE entry before the Honorable Sharon Johnson Coleman as to Ovidio
Guzman Lopez (22): Status hearing held on 10/21/2024. Counsel for the government
reported that he and defendant's counsel have begun conversations about resolving this
matter short of trial. An in−person status hearing is set for 1/7/2025 at 11:00 AM.
Defendant's appearance is waived at the status. Time is excluded to 1/7/2025 pursuant to
18 U.S.C. § 3161(h)(7)(B)(i) with no objections. Mailed notice. (ym)




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